          Case 1:18-cv-02340-RJL Document 20 Filed 11/20/18 Page 1 of 2



                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA




UNITED STATES OF AMERICA et al.,
                                                           Case No. 1:18-cv-02340-RJL
                       Plaintiffs,

v.

CVS HEALTH CORPORATION

and

AETNA INC.,

                       Defendants.



         PLAINTIFF UNITED STATES’ UNOPPOSED MOTION TO APPOINT
                        A MONITORING TRUSTEE

       As authorized by the proposed Final Judgment filed with the Court on October 10,

2018, Plaintiff United States, after consultation with the Plaintiff States, hereby moves this

Court for entry of an order approving the appointment of Julie Myers Wood as monitoring

trustee. In support of this motion, the United States files (1) the Memorandum of Points and

Authorities in Support of Plaintiff United States’ Unopposed Motion to Appoint a Monitoring

Trustee and (2) the proposed Order.
        Case 1:18-cv-02340-RJL Document 20 Filed 11/20/18 Page 2 of 2



Dated: November 20, 2018

                                          Respectfully submitted,



                                                       /s/
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